          Case 1:21-cv-12039-IT Document 45 Filed 09/30/22 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS
________________________________________________
MICHAEL BUSH,                                           )
        Plaintiff,                                      )
                                                        )
VS.                                                     ) C.A. NO. 1:21-cv-12039-IT
                                                        )
ACTON-BOXBORO REGIONAL SCHOOL DISTRICT, )
PETER LIGHT, in his official and individual capacities, )
DAWN GRIFFIN BENTLEY, in her official and               )
individual capacities, and ERIN O’BRIEN BETTEZ,         )
in her official and individual capacities,              )
        Defendants.                                     )

                                NOTICE OF APPEARANCE

       In addition to my appearance already entered on behalf of Acton-Boxborough Regional

School District and Peter Light, please enter my appearance as counsel for the defendants, Dawn

Griffin Bentley and Erin O’Brien Bettez, in the above-captioned matter.


                                    Respectfully submitted,

                                    The Defendants,

                                    ACTON BOXBORO REGIONAL SCHOOL DISTRICT,
                                    PETER LIGHT, DAWN GRIFFIN BENTLEY, and
                                    ERIN O’BRIEN BETTEZ,
                                    By their Attorneys,

                                    PIERCE DAVIS & PERRITANO LLP

                                    /s/ John J. Davis
                                    ______________________________________
                                    John J. Davis, BBO #115890
                                    10 Post Office Square, Suite 1100N
                                    Boston, MA 02109
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Dated: September 30, 2022
           Case 1:21-cv-12039-IT Document 45 Filed 09/30/22 Page 2 of 2




                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing, filed through the Electronic Case Filing System, will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
and that a paper copy shall be served upon those indicated as non-registered participants on
September 30, 2022.


                                               /s/ John J. Davis
                                               _________________________
                                               John J. Davis, Esq.




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